SO ORDERED.

DONE and SIGNED November 29, 2022.




                                      ________________________________________
                                      JOHN S. HODGE
                                      UNITED STATES BANKRUPTCY JUDGE



                    UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF LOUISIANA
                          SHREVEPORT DIVISION

IN RE:                                 §             Case Number: 21-10807
                                       §
Tloria M. McDavid                      §             Chapter 13
 Debtor                                §
______________________________________ §
Tloria M. McDavid                      §
       Plaintiff                       §             Adversary Proceeding
                                       §
vs.                                    §             Case No. 22AP-01007
                                       §
Mario McDavid, Shan Jackson, and       §
  Incline Casualty Company             §
       Defendants                      §

                                       Order

      Before the court are the following:

      a. Motion to Dismiss Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal

         Rules of Civil Procedure filed by Incline Casualty Company as docket no.

         49; and

      b. Motion for Judgment on the Pleadings Pursuant to Federal Rule of Civil




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      Procedure 12(c) filed by Mario McDavid and Shan Jackson as docket no.

      57.

   For the reasons set forth in the Memorandum Ruling,

   IT IS ORDERED that:

   1. The Motion to Dismiss Pursuant to Rules 12(b)(1) and 12(b)(6) of the

      Federal Rules of Civil Procedure filed by Incline Casualty Company as

      docket no. 49 is hereby GRANTED in part and DENIED in part;

   2. The Motion for Judgment on the Pleadings Pursuant to Federal Rule of

      Civil Procedure 12(c) filed by Mario McDavid and Shan Jackson as docket

      no. 57 is hereby DENIED;

   3. All claims asserted in the First Amended Complaint (Doc. 39) against

      Incline Casualty Company and Shan Jackson are hereby dismissed

      pursuant to Federal Rule 12(b)(6); and

   4. All claims asserted in the First Amended Complaint (Doc. 39) against

      Mario McDavid are hereby dismissed pursuant to Federal Rule 12(b)(6)

      except for the claim asserting that Mario McDavid agreed to pay Plaintiff

      a portion of the settlement proceeds.

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